Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 1 of 27
                              EXHIBIT A
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 2 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 3 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 4 of 27
                            EXHIBIT B
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 5 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 6 of 27
                                 EXHIBIT C
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 7 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 8 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                             Exhibit Page 9 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 10 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 11 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 12 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 13 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 14 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 15 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 16 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 17 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 18 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 19 of 27
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 20 of 27
                                                           EXHIBIT D
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16   Desc
                            Exhibit Page 21 of 27
Montgomery County                                                                                  Page 1 of 1
   Case 3:19-bk-30972                            Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16 Desc
                                                        Exhibit Page 22 of 27
                                                                                 EXHIBIT E                                         | CONTACT US | HELP


                                                                                                                    County Auditors Page --- Mobile Site


                                                                   Home     Property Search     Value Dispute    GIS Mapping     File Downloads
                                                       Address    Owner Name        Parcel     Land Use Codes       Advanced Search

  Summary                          PARID: O67 28421 0006
                                   PARCEL LOCATION: 8416 MCEWEN RD                                     NBHD CODE: 98094000
                                                                                                                                        Tax Year:   2018   
  Property Description
                                                                                                                                       CURRENT RECORD
  Tax Summary
                                   Tax Year   Total Value                                                                                     1 of 1
  Payments List                                                                                                                    Return to Search Results
                                   2000       70,740
  Levy Distribution                2001       70,740
  New Levies                       2002       74,090
                                   2003       74,090
  Special Assessments
                                   2004       74,090                                                                                   Maps
  Permits                          2005       81,500
  Value History                    2006       81,500
                                                                                                                                      Printable Summary
                                   2007       81,500
  Rental Registration
                                   2008       93,220                                                                                  Printable Version
  Sketch                 .......




                                   2009       93,220
  Sales                            2010       93,220

  Photo                            2011       81,040
                                   2012       81,040
  Tax Detail
                                   2013       81,040
  Pay Taxes                        2014       72,060
                                   2015       72,060
                                   2016       72,060
                                   2017       73,820
                                   2018       73,820
                                   2019       73,820 *** TENTATIVE VALUES CURRENTLY UPDATING ***




                                                                   Data Copyright Montgomery County [Disclaimer] [Privacy Policy]

                                                                 Site Design Copyright 1999-2013 Tyler Technologies. All rights reserved.




http://www.mcrealestate.org/datalets/datalet.aspx?mode=value_hist&sIndex=0&idx=1&LM... 4/2/2019
               Case
                Case3:19-bk-30972
                     3:19-bk-30972 Doc
                                    Doc112-1
                                          FiledFiled
                                                03/28/19
                                                     05/02/19
                                                           Entered
                                                               Entered
                                                                    03/28/19
                                                                        05/02/19
                                                                             15:19:18
                                                                                 09:45:16
                                                                                       DescDesc
                                                                                            Main
                                                                                                3/28/19 3:18PM
                                         Document
                                           Exhibit Page Page
                                                           2318
                                                              of of
                                                                 2764
 Fill in this information to identify your case:

 Debtor 1                   Todd F. Wollenhaupt
                            First Name                      Middle Name                      Last Name
                                                                                                                                        EXHIBIT F
 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Financial                           Describe the property that secures the claim:                 $31,380.00               $30,122.00            $1,258.00
         Creditor's Name                          2018 Ford F250 Super Duty 12,000
                                                  miles
                                                  VIN: 1FTBF2B64JEB34938
                                                  As of the date you file, the claim is: Check all that
         200 Renaissance Ctr                      apply.
         Detroit, MI 48243                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Auto Loan
       community debt

                                 Opened
                                 04/18 Last
                                 Active
 Date debt was incurred          2/13/19                   Last 4 digits of account number        6090




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
             Case
              Case3:19-bk-30972
                   3:19-bk-30972 Doc
                                  Doc112-1
                                        FiledFiled
                                              03/28/19
                                                   05/02/19
                                                         Entered
                                                             Entered
                                                                  03/28/19
                                                                      05/02/19
                                                                           15:19:18
                                                                               09:45:16
                                                                                     DescDesc
                                                                                          Main
                                                                                              3/28/19 3:18PM
                                       Document
                                         Exhibit Page Page
                                                         2419
                                                            of of
                                                               2764
 Debtor 1 Todd F. Wollenhaupt                                                                                 Case number (if known)
               First Name                  Middle Name                      Last Name


         Fox Ridge Villas
 2.2                                                                                                                   $2,240.00          $73,820.00             $0.00
         Homeowners' Associatio                     Describe the property that secures the claim:
         Creditor's Name                            8416 MCEWEN RD Dayton, OH 45458
                                                    Montgomery County
         c/o RCF Properties                         Parcel Number: O67 28421 0006
                                                    As of the date you file, the claim is: Check all that
         5797 Far Hills Ave #100                    apply.
         Dayton, OH 45429                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Homeowners Association Lien
       community debt

 Date debt was incurred                                      Last 4 digits of account number         2159

 2.3     Nationstar/mr Cooper                       Describe the property that secures the claim:                    $67,156.00           $73,820.00             $0.00
         Creditor's Name                            8416 MCEWEN RD Dayton, OH 45458
                                                    Montgomery County
                                                    Parcel Number: O67 28421 0006
                                                    As of the date you file, the claim is: Check all that
         350 Highland                               apply.
         Houston, TX 77067                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

                                 Opened
                                 07/09 Last
                                 Active
 Date debt was incurred          6/30/18                     Last 4 digits of account number         8658



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $100,776.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $100,776.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
 Case 3:19-bk-30972              Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16                       Desc
                                        Exhibit Page 25 of 27



                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

In re:                                                    :
                                                          :
    Todd F Wollenhaupt                                    :        Case No.: 19-30972
                                                          :        Chapter 7
         Debtor(s).                                       :        Judge Beth A. Buchanan
                                                          :        ***********************
                                                          :
                                                          :

                                   Exhibit G
_____________________________________________________________________________

                         RELIEF FROM STAY/ADEQUATE PROTECTION
                          EXHIBIT AND WORKSHEET - REAL ESTATE
                             (For use as required by LBR 4001-1(a)(1))
____________________________________________________________________________________________

Real property address which is the subject of this motion: 8416 McEwen Road, Centerville, OH 45458

DEBT/VALUE REPRESENTATIONS:
     Total indebtedness of the debtor(s) at the time of filing the motion for relief from stay
     (not to be relied upon as payoff quotation):                                                $     76,890.04
     Movant's estimated market value of the real property:                                       $     73,820.00
     Source of the estimated valuation:    the 2018 Montgomery County Auditor's tax record


STATEMENT OF ARREARAGE:
     (1) As of petition filing date:                                                             $          0.00
         Amounts paid after the date of filing to be applied to the prepetition default:         $          0.00
    (2) Postpetition:                                                                            $     11,970.93
    (3) Monthly payment amount:                         Eighteen (18) payments at:               $       626.80
                                                        One (1) payment at:                      $       688.53
    (4) Date of Last Payment:
    (5) Amount of Last Payment                                                                   $
# of payments due postpetition                     19            (through payment due April 1, 2019)
# of payments received postpetition                 0
# of payments in default postpetition              19
Total amount of postpetition payments currently in default                                       $     11,970.93


19-012835_BEW1
 Case 3:19-bk-30972               Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16                             Desc
                                         Exhibit Page 26 of 27



    + Postpetition late charges                                                                    $               0.00
    + Other postpetition charges (describe)                                                        $               0.00
           Foreclosure title work
           Filing fee
           Skip trace
           Document acquisition costs
           Service Process server
           Escrow Shortage (Amounts advanced on
           behalf of Debtor(s)
               Hazard Insurance                                            Dates:___________
               Taxes                                                       Dates:___________
           Appraisal
           BPO charges
           Property Inspection
           Other (specify)
    - Suspense balance                                                                             $            502.98
= Total Postpetition Arrearage                                                                     $         11,467.95

OTHER LOAN INFORMATION:
      Date of the loan                    7/9/09
      Current interest rate               5.5%

Money paid to and held by the mortgagee but not applied to the loan $0.00; if held in the form of checks, balance of
such checks $0.00, and identity of holder of the checks.

REQUIRED ATTACHMENTS TO MOTION:
         (a)      Postpetition payments have not been made and therefore, a postpetition payment history is not
                  attached;
         (b)      In all cases, copies of documents which indicate movant's interest in the subject property. For
                  purposes of example only, a complete and legible copy of the promissory note or other debt
                  instrument together with a complete and legible copy of the real estate mortgage should be
                  attached. The mortgage should bear date stamps reflecting the recording date together with
                  recording references reflecting the recordation of the mortgage with the appropriate county
                  official. If the subject property is registered land, movant shall attach a copy of the registered land
                  certificate or other documentation reflecting that the mortgage was memorialized as a lien on the
                  registered land certificate.
This Exhibit and Worksheet was prepared by:

                                                                      /s/ Adam B. Hall
                                                                 Adam B. Hall (0088234)
                                                                 Edward H. Cahill (0088985)
                                                                 John R. Cummins (0036811)

19-012835_BEW1
Case 3:19-bk-30972   Doc 12-1 Filed 05/02/19 Entered 05/02/19 09:45:16         Desc
                            Exhibit Page 27 of 27


                                         Stephen R. Franks (0075345)
                                         Manley Deas Kochalski LLC
                                         P.O. Box 165028
                                         Columbus, OH 43216-5028
                                         Telephone: 614-220-5611
                                         Fax: 614-627-8181
                                         Attorneys for Creditor
                                         The case attorney for this file is Adam B.
                                         Hall.
                                         Contact email is abh@manleydeas.com




19-012835_BEW1
